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     Exhibits to Defendant Mitchell Englander’s Position Regarding Sentencing
                               Index – Support Letters
                        Exhibit A: Mitchell Englander Letter
 No.                        Description                 Exhibit Number
 1.        Mitchell Englander                           A
                              Exhibit B: Family Letters
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 3.        Lindsey Englander                            B-2
 4.        Lauren Rachael Englander                     B-3
 5.        Andrew Bloom                                 B-4
 6.        Harvey Englander                             B-5
 7.        John and Julie Carson                        B-6
 8.        Adam Englander                               B-7
                            Exhibit C: Childhood Letters
 9.        Marcia Schwartz                              C-1
 10.       Mark Hunter, M.D.                            C-2
 11.       Ed Krug                                      C-3
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 12.       Mark Bliss Blizzard                          D-1
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 20.       Katherine Lettieri                           E-2
 21.       Douglas Tripp                                E-3
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 23.       Bree Breckenridge                            E-5
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 25.       Dr. Eugene Tseng                             E-7
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 30.       Jane Stanton                               F-3
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             EXHIBIT A
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                              MITCHELL ENGLANDER



 November 16, 2020

 Honorable John F. Walter
 United States District Court
 350 W. 1st Street
 Los Angeles, California. 90012


 Dear Judge Walter,

 My name is Mitchell Englander. I am married to my high school sweetheart Jayne,
 and together we are blessed with two remarkable adult daughters, Lindsey and
 Lauren.

 This is likely the most difficult letter I have ever had to write. It is not just a letter
 accepting responsibility and sincerely apologizing to Your Honor, the prosecutors
 and the Agents and the Government for my actions; this is also a letter accepting
 responsibility and publicly and sincerely apologizing to my family, friends, and
 community. I knew better, and I have no excuse for what I did and for breaking
 the law.

 In my life, I have strived to recognize, accept, and learn from both my mistakes
 and my successes. I have done my best to use my life experiences wisely in order
 to be a good role model for my children and my community.

 I recognize, Your Honor, that my conduct that brings me before you for sentencing
 is serious and inexcusable. I can say in all honesty, however, that my actions that
 bring me before Your Honor are out of line with how I have lived for the last 50
 years.

 As I admitted in my guilty plea, I made false statements to the FBI. Looking back
 on my conduct, I am filled with shame. There is a wrenching pain in my chest that
 I feel and carry with me from when I wake up in the morning until I fall asleep at
 night.

 I alone am responsible for my actions and there is nothing I regret more in my life.
 I will spend the rest of my life making up for it because it is both the right thing to
 do and what I need to do in order to regain the respect of my family and friends.

 My destructive actions have caused immense pain for my wife and daughters, the
 very people I love the most. My situation has been and will continue to be publicly
 humiliating to them. I will feel the pain I have caused my family long after others


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have forgotten about my actions. I hope that fully accepting responsibility for my
acts is the first step in lessening the harm that I have caused.

As I hope Your Honor will see, I have worked in the public sector since I was a
young adult. I believe I have done good work in our community, and I will strive to
continue to help others as I move forward with my life.

I am humbled and enormously grateful for the outpouring of support that I
continue to receive from my family and friends, many of whom have written
character letters to your Honor. I apologize to all of them and to the Agents that I
lied to.

In closing, I promise you that this is the first and last time that I will appear as a
defendant in this or any other court. In sentencing me, I respectfully ask you to
please consider the positive things that I have done for the community during my
lifetime, my commitment to continue helping others, and to exercise compassion in
your decision.

Very truly yours,



Mitchell Englander




                                       Exhibit A
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